     Case: 1:20-cv-01386 Document #: 64 Filed: 08/24/20 Page 1 of 2 PageID #:1567




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

FAIRLY ODD TREASURES, LLC,

                                                               Civil Action No.: 1:20-cv-01386
Plaintiff,
                                                                Judge Charles P. Kocoras
v.
                                                               Magistrate Judge Sidney I. Shenkier
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,


Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                551                                shop1407805561663
                227                                      Lianqiao
                251                                    Orangeguo
                321                                    Exquisilife
                442                                 Shop4219003 Store
                108                                 Best price auctions
                284                                     HUSHUS


DATED: August 24, 2020                        Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
                                                      Chicago, Illinois 60604
                                                      Telephone: 312-675-6079
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01386 Document #: 64 Filed: 08/24/20 Page 2 of 2 PageID #:1568




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
